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 5   Attorneys for Defendant Jake Haidet
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 7
                                    UNITED STATES DISTRICT COURT
 8
                                     FOR THE DISTRICT OF NEVADA
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10
11   UNITED STATES OF AMERICA,           )
                                         )                   Case No. 2:23-CR-00054-RFB-EJY
12         Plaintiff,                    )
                                         )                   STIPULATION AND ORDER TO
13                 vs.                   )                   CONTINUE MOTIONS DEADLINE
                                         )                   (SIXTH REQUEST)
14   SKYLER ADAMS, and                   )
     JAKE HAIDET,                        )
15                                       )
           Defendants.                   )
16   ___________________________________ )
17           IT IS HEREBY STIPULATED and agreed, by and between JASON M. FRIERSON, United

18   States Attorney, by MELANEE SMITH, Assistant United States Attorney, SKYLER ADAMS,

19   Defendant, by and through his counsel, BENJAMIN F. NEMEC, FEDERAL PUBLIC

20   DEFENDER’S OFFICE, and JAKE HAIDET, Defendant, by and through his counsel, ANGELA H.

21   DOWS, ESQUIRE, CORY READE DOWS & SHAFER, and that the motions deadline, currently set

22   for July 29, 2024, be continued for a period of forty-five (45) days.

23           This stipulation is entered into for the following reasons:
24   ///
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26
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 1           1.      Calendar call in this matter is currently set for October 8, 2024; and trial is

 2   scheduled for November 12, 2024. (ECF Nos. 62, 64.)

 3           2.      All defendants are on pretrial release and agree to the continuance requested herein.
 4           3.      Defendant David Adams entered into a Pretrial Diversion agreement in April of

 5   2024. (ECF No. 65.) The remaining defendants are working on a negotiation short of trial.

 6           4.      This continuance is not sought for the purpose of delay but to allow defendants

 7   adequate time to prepare should the matter not resolve short of trial. Defense counsel needs

 8   additional time to obtain and review discovery to determine if any motions should be filed, and

 9   if this case should proceed to trial or ultimately be resolved through negotiations.

10           5.      The parties propose that each party shall have 45 days to file pretrial motions

11   from the current deadline to file pretrial motions. Responses shall be due within 14 days of

12   service of the motions; and any replies within 7 days of service of the responses.

13           6.      Although the instant stipulation does not request to continue the trial date, the

14   additional time requested by this agreed stipulation is also excludable in computing the time

15   within which the trial herein must commence pursuant to the Speedy Trial Act, Title 18, U.S.C.

16   §3161(h)(1)(A); and Title 18, U.S.C. §3161(h)(7)(A), when considering the factors under Title

17   18, U.S.C. §3161(h)(7)(B), §3161(h)(7)(B)(i), and §3161(h)(7)(B)(iv).

18           7.      This is the sixth request for a continuance filed herein.
19           For all of the above-stated reasons, the ends of justice would best be served by a continuance.
20          Further, although the instant stipulation does not request to continue the trial date, the

21   ends of justice served by granting said continuance outweigh the best interest of the public and

22   the defendant in a speedy trial, since the failure to grant said continuance would be likely to

23   result in a miscarriage of justice, would deny the parties herein sufficient time and the

24   opportunity within which to be able to effectively and thoroughly prepare for trial, taking into

25   account the exercise of due diligence.

26   ///

27   ///

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 1   The continuance sought herein is excludable under the Speedy Trial Act, Title 18, U.S.C.

 2   §3161(h)(1); and Title 18, U.S.C. §3161(h)(7)(A), when considering the factors under Title 18,

 3   U.S.C. §3161(h)(7)(B), §3161(h)(7)(B)(i) and §3161(h)(7)(B)(iv).

 4          DATED: July 22, 2024.

 5                                                      JASON M. FRIERSON
                                                         United States Attorney
 6
 7                                                      By /s/ Melanee Smith
                                                          MELANEE SMITH
 8                                                        Assistant United States Attorneys

 9   FEDERAL PUBLIC DEFENDER’S OFFICE                   CORY READE DOWS & SHAFER
10
     By /s/ Benjamin F. Nemec                           By /s/ Angela H. Dows
11    BENJAMIN F. NEMEC, ESQUIRE                          ANGELA H. DOWS, ESQUIRE
      Counsel for Skyler Adams                            Counsel for Jake Haidet
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 1                                 UNITED STATES DISTRICT COURT

 2                                    FOR THE DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,           )
 4                                       )                    Case No. 2:23-CR-00054-RFB-EJY
            Plaintiff,                   )
 5                                       )
 6                  vs.                  )
                                         )
 7   SKYLER ADAMS, and                   ),
     JAKE HAIDET,                        )
 8                                       )
 9          Defendants.                  )
     ____________________________________)
10
                    FINDINGS OF FACT, CONCLUSIONS OF LAW AND ORDER
11                                  FINDINGS OF FACT
12
              Based upon the pending Stipulation of counsel and good cause appearing, the Court finds
13
     that:
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              1.     Calendar call in this matter is currently set for October 8, 2024; and trial is
15
     scheduled for November 12, 2024. (ECF Nos. 62, 64.)
16
              2.     All defendants are on pretrial release and agree to the continuance requested herein.
17
              3.     Defendant David Adams entered into a Pretrial Diversion agreement in April of
18
     2024. (ECF No. 65.) The remaining defendants are working on a negotiation short of trial.
19
              4.     Defense counsel needs additional time to obtain and review discovery to
20
     determine if any motions should be filed, and if this case should proceed to trial or ultimately be
21
     resolved through negotiations.
22
              5.     This continuance is not sought for the purpose of delay but to allow defendants
23
     adequate time to prepare.
24
              6.     The parties request that the date for filing of any pretrial motions be extended.
25
     They propose that each party shall have 45 days to file pretrial motions from the current deadline
26
     to file pretrial motions. Responses shall be due within 14 days of service of the motions; and any
27
     replies within 7 days of service of the responses.
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                                                          4
          Case 2:23-cr-00054-RFB-EJY            Document 67         Filed 07/23/24    Page 5 of 5
            7.      The additional time requested by this agreed motion is also excludable in computing
     the time within which the trial herein must commence pursuant to the Speedy Trial Act, Title 18,
 1
     U.S.C. §3161(h)(1)(A); and Title 18, U.S.C. §3161(h)(7)(A), when considering the factors under
 2
     Title 18, U.S.C. §3161(h)(7)(B), §3161(h)(7)(B)(i), and §3161(h)(7)(B)(iv).
 3
            8.      This is the sixth request for a continuance filed herein.
 4
                                        CONCLUSIONS OF LAW
 5
            The ends of justice served by granting said continuance outweigh the best interest of the
 6
     public and the defendant in a speedy trial, since the failure to grant said continuance would be
 7
     likely to result in a miscarriage of justice, would deny the parties herein sufficient time and the
 8
     opportunity within which to be able to effectively and thoroughly prepare for trial, taking into
 9
     account the exercise of due diligence.
10
            The continuance sought herein is excludable under the Speedy Trial Act, Title 18, U.S.C.
11
     §3161(h)(1); and Title 18, U.S.C. §3161(h)(7)(A), when considering the factors under Title 18,
12
     U.S.C. §3161(h)(7)(B), §3161(h)(7)(B)(I) and §3161(h)(7)(B)(iv).
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                 **********************************************************
14
                                                   ORDER
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            IT IS HEREBY ORDERED that the date for filing of any pretrial motions be
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     extended. They propose that each party shall have 45 days to file pretrial motions from the
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     current deadline to file pretrial motions. Responses shall be due within 14 days of service of the
18
     motions; and any replies within 7 days of service of the responses.
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20
            Dated: July 23, 2024
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25                                                 RICHARD F. BOULWARE, II
                                                   UNITED STATES DISTRICT COURT
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